    DECLARATION OF SHELLEY K. BUNTING




Case 1:19-cv-00272-LCB-LPA Document 140-1 Filed 11/30/21 Page 1 of 41
Case 1:19-cv-00272-LCB-LPA Document 140-1 Filed 11/30/21 Page 2 of 41
Case 1:19-cv-00272-LCB-LPA Document 140-1 Filed 11/30/21 Page 3 of 41
Case 1:19-cv-00272-LCB-LPA Document 140-1 Filed 11/30/21 Page 4 of 41
Case 1:19-cv-00272-LCB-LPA Document 140-1 Filed 11/30/21 Page 5 of 41
Case 1:19-cv-00272-LCB-LPA Document 140-1 Filed 11/30/21 Page 6 of 41
Case 1:19-cv-00272-LCB-LPA Document 140-1 Filed 11/30/21 Page 7 of 41
Case 1:19-cv-00272-LCB-LPA Document 140-1 Filed 11/30/21 Page 8 of 41
Case 1:19-cv-00272-LCB-LPA Document 140-1 Filed 11/30/21 Page 9 of 41
                                 Exhibit A




Declaration of Shelley K. Bunting
Kadel v. Folwell, No. 1:19-cv-00272-LCB-LPA


   Case 1:19-cv-00272-LCB-LPA Document 140-1 Filed 11/30/21 Page 10 of 41
C.B.




       Case 1:19-cv-00272-LCB-LPA Document 140-1 Filed 11/30/21 Page 11 of 41
Case 1:19-cv-00272-LCB-LPA Document 140-1 Filed 11/30/21 Page 12 of 41
                                 Exhibit B




Declaration of Shelley K. Bunting
Kadel v. Folwell, No. 1:19-cv-00272-LCB-LPA


   Case 1:19-cv-00272-LCB-LPA Document 140-1 Filed 11/30/21 Page 13 of 41
Case 1:19-cv-00272-LCB-LPA Document 140-1 Filed 11/30/21 Page 14 of 41
                                 Exhibit C




Declaration of Shelley K. Bunting
Kadel v. Folwell, No. 1:19-cv-00272-LCB-LPA


   Case 1:19-cv-00272-LCB-LPA Document 140-1 Filed 11/30/21 Page 15 of 41
Case 1:19-cv-00272-LCB-LPA Document 140-1 Filed 11/30/21 Page 16 of 41
Case 1:19-cv-00272-LCB-LPA Document 140-1 Filed 11/30/21 Page 17 of 41
Case 1:19-cv-00272-LCB-LPA Document 140-1 Filed 11/30/21 Page 18 of 41
Case 1:19-cv-00272-LCB-LPA Document 140-1 Filed 11/30/21 Page 19 of 41
Case 1:19-cv-00272-LCB-LPA Document 140-1 Filed 11/30/21 Page 20 of 41
Case 1:19-cv-00272-LCB-LPA Document 140-1 Filed 11/30/21 Page 21 of 41
Case 1:19-cv-00272-LCB-LPA Document 140-1 Filed 11/30/21 Page 22 of 41
Case 1:19-cv-00272-LCB-LPA Document 140-1 Filed 11/30/21 Page 23 of 41
Case 1:19-cv-00272-LCB-LPA Document 140-1 Filed 11/30/21 Page 24 of 41
                                 Exhibit D




Declaration of Shelley K. Bunting
Kadel v. Folwell, No. 1:19-cv-00272-LCB-LPA


   Case 1:19-cv-00272-LCB-LPA Document 140-1 Filed 11/30/21 Page 25 of 41
Case 1:19-cv-00272-LCB-LPA Document 140-1 Filed 11/30/21 Page 26 of 41
Case 1:19-cv-00272-LCB-LPA Document 140-1 Filed 11/30/21 Page 27 of 41
Case 1:19-cv-00272-LCB-LPA Document 140-1 Filed 11/30/21 Page 28 of 41
Case 1:19-cv-00272-LCB-LPA Document 140-1 Filed 11/30/21 Page 29 of 41
Case 1:19-cv-00272-LCB-LPA Document 140-1 Filed 11/30/21 Page 30 of 41
Case 1:19-cv-00272-LCB-LPA Document 140-1 Filed 11/30/21 Page 31 of 41
Case 1:19-cv-00272-LCB-LPA Document 140-1 Filed 11/30/21 Page 32 of 41
                                 Exhibit E




Declaration of Shelley K. Bunting
Kadel v. Folwell, No. 1:19-cv-00272-LCB-LPA


   Case 1:19-cv-00272-LCB-LPA Document 140-1 Filed 11/30/21 Page 33 of 41
Case 1:19-cv-00272-LCB-LPA Document 140-1 Filed 11/30/21 Page 34 of 41
Case 1:19-cv-00272-LCB-LPA Document 140-1 Filed 11/30/21 Page 35 of 41
Case 1:19-cv-00272-LCB-LPA Document 140-1 Filed 11/30/21 Page 36 of 41
Case 1:19-cv-00272-LCB-LPA Document 140-1 Filed 11/30/21 Page 37 of 41
Case 1:19-cv-00272-LCB-LPA Document 140-1 Filed 11/30/21 Page 38 of 41
Case 1:19-cv-00272-LCB-LPA Document 140-1 Filed 11/30/21 Page 39 of 41
Case 1:19-cv-00272-LCB-LPA Document 140-1 Filed 11/30/21 Page 40 of 41
Case 1:19-cv-00272-LCB-LPA Document 140-1 Filed 11/30/21 Page 41 of 41
